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UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF NEW YORK

Mohamed John Akhtar and !
La Buca Restaurant, Inc. d/b/a ! Case No. 23-cv-06585 (JGLC)(VF)

Swing 46 Jazz and Supper Club,
Plaintiffs,
V.

Eric Adams, Mayor of the City of
New York, Rohit T. Aggarwala, New |
York City Department of
Environmental Protection, Eric I.
Eisenberg, and John and Jane

Does One through Thirty,

Defendants.

Declaration of Anthony N. lannarelli Jr.

Anthony N. lannarelli Jr., of full age declares and affirms, under the

penalty of perjury, to the truth of the following:

1. Exhibit A is a true copy of “NYC Serv Violation Copy.”

2. Exhibit B is a true copy of the Declaration of Mohammed John

Sohel Aktar dated April 25, 2025.

3. Exhibit C is a true copy of the Declaration of Michelle Collier date

March 20, 2025.
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4. Exhibit D is a true copy of the Declaration of Howard Fredics

dated April 25, 2025.

| affirm to the truth of the foregoing and aware that | may be subject

to punishment for statements knowingly made false.

po

Dated: April 25, 2025 .

Anthony N. lannarelli Jr.
Attorney for Plaintiffs

